Case 8:04-cr-00374-JSM-AEP Document 503 Filed 12/10/12 Page 1 of 5 PageID 1323




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION




 CHARLES CAMACHO-DUKE,

        Petitioner,

 v.                                                  CASE NO. 8:11-CV-2778-T-30AEP
                                                 CRIM. CASE NO. 8:04-CR-374-T-30AEP

 UNITED STATES OF AMERICA,

       Respondent.
 _______________________________________/

                                           ORDER

        Before the Court is Petitioner’s “Motion to Show by Record Evidence That § 2255

 Motion is not Time-Barred and to Re-open §2255 Appeal” (CV Dkt. 6) in which Petitioner

 requests the Court reconsider its December 21, 2011 Order dismissing Petitioner’s § 2255

 motion as time-barred (see CV Dkt. 4). Petitioner fails to cite any legal authority for his

 motion.

        The Federal Rules of Civil Procedure provide two vehicles by which a party may seek

 relief in a postjudgment motion, Fed. R. Civ. P. 59(e) and Fed. R. Civ. P. 60(b). In

 addressing the classification of postjudgment motions, the Eleventh Circuit “has drawn a

 substantive/collateral distinction: ‘Rule 59 applies to motions for reconsideration of matters

 encompassed in a decision on the merits of the dispute, and not matters collateral to the

 merits.’” Finch v. City of Vernon, 845 F.2d 256, 259 (11th Cir. 1988) (citations omitted).
Case 8:04-cr-00374-JSM-AEP Document 503 Filed 12/10/12 Page 2 of 5 PageID 1324




         Petitioner challenges the substance of the Court’s order dismissing his § 2255 motion.

 Moreover, Petitioner’s motion can be considered as filed pursuant to Rule 59(e) because he

 filed it within 28 days after entry of the judgment. Fed. R. Civ. P. 59(e).1 Consequently, the

 Court will treat Petitioner’s motion as filed pursuant to Rule 59(e).

         “The only grounds for granting [a Rule 59] motion are newly-discovered evidence or

 manifest errors of law or fact.” Arthur v. King, 500 F.3d 1335, 1343 (11th Cir. 2007) (quoting

 In re Kellogg, 197 F.3d 1116, 1119 (11th Cir. 1999)).

         When Petitioner filed his § 2255 motion, he argued that he was entitled to equitable

 tolling of the one year limitations period because after he was convicted and sentenced, he

 told his attorney to file an appeal of his sentence, but his attorney failed to do so (see CV

 Dkt. 1). He further asserted that he believed counsel had filed a notice of appeal on his

 behalf, but only recently learned through a friend that counsel had died and never filed the

 appeal (Id.).2

         In the present motion, Petitioner alleges that “counsel affirmatively led Petitioner into

 believing that post-conviction petition was still pending up to and including a § 2255

 Motion.” (CV Dkt. 6 at 1). Therefore, although Petitioner previously asserted only that

 counsel had “indicated he would [file a notice of appeal]” (CV Dkt. 1 at docket page 4), he




               1
                “Any motion to alter or amend a judgment must be filed no later than 28 days after the entry of the
 judgment.” Fed. R. Civ. P. 59(e).
               2
                   Petitioner fails to indicate when he learned that Attorney Huerta had died.

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Case 8:04-cr-00374-JSM-AEP Document 503 Filed 12/10/12 Page 3 of 5 PageID 1325




 now appears to assert that his former attorney informed him that he had filed an appeal and

 a § 2255 motion on Petitioner’s behalf.3

         Petitioner also asserts in his motion that he “spent considerable effort attempting to

 contact counsel[.]” (CV Dkt. 6 at 1). He further asserts that “prison records do exist that

 prove that Petitioner did in fact make diligent effort to contact counsel. . . .” (Id. at 2).

         Initially, to the extent Petitioner now argues, for the first time, that former counsel had

 informed him that he had actually filed both an appeal of Petitioner’s conviction and a § 2255

 motion, Petitioner may not use Rule 59(e) to raise new claims and arguments that could have

 been asserted before judgment was entered. See Henderson v. Fla. Dep’t of Corr., 441 Fed.

 Appx. 629, 2011 U.S. App. LEXIS 19389, at *3 (11th Cir. Sept. 21, 2011) (unpublished

 opinion) (“A Rule 59(e) motion cannot be used to raise arguments or present evidence that

 could have been raised before judgment was entered.”).

         Moreover, even if there are prison telephone records that show that Petitioner

 attempted to contact former counsel, that would not establish the requisite diligence which

 is required to show Petitioner’s entitlement to equitable tolling. Petitioner makes no

 allegation that he, or a third party on his behalf, made any effort to contact this Court4 or the

 Eleventh Circuit Court of Appeals to determine the status of the appeal he allegedly believed



               3
                 The Court finds that Petitioner’s new assertion that his former attorney informed him that he had
 filed a § 2255 motion on Petitioner’s behalf wholly incredible as Petitioner previously asserted that at the time he
 discovered that counsel had died, he believed “that [his] appeal was under way.” (CV Dkt. 1 at docket page 12).
               4
               Petitioner easily could have requested a copy of his criminal docket to determine whether an appeal
 or § 2255 motion had been filed on his behalf.

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Case 8:04-cr-00374-JSM-AEP Document 503 Filed 12/10/12 Page 4 of 5 PageID 1326




 had or should have been filed on his behalf. The inability to contact counsel, apparently for

 over four years,5 would give a reasonable prisoner notice that he should take some other steps

 to ascertain the status of his appeal. Petitioner’s failure to take any steps over a four-year

 period to ascertain the status of his appeal or to file a § 2255 motion, other than futilely

 attempting to contact his attorney, demonstrates a lack of due diligence.

          Moreover, on October 5, 2010, Attorney Louis Casuso filed a Notice of Appearance

 on behalf of Petitioner in Petitioner’s criminal case (CR Dkt. 457). Despite having retained

 new counsel, Petitioner still failed to exercise diligence, waiting over one year after Attorney

 Casuso filed his Notice of Appearance before filing his pro se § 2255 motion.6

          In sum, Petitioner could have discovered, with the exercise of due diligence, that an

 appeal and § 2255 motion had not been filed on his behalf well before December 8, 2010,

 which is one year prior to the date Petitioner filed his § 2255 motion. Therefore, Petitioner

 is not entitled to the benefit of equitable tolling.7




                5
                 The judgment in Petitioner’s criminal case was entered August 16, 2007 (CR Dkt. 306). Petitioner
 filed his § 2255 motion on December 8, 2011 (CV Dkt. 1).
                6
               Furthermore, Petitioner easily could and should have learned from Attorney Casuso that no appeal
 or § 2255 motion had been filed.
                7
                    Moreover, the § 2255 motion is not timely under § 2255(f)(4) (“The one year period runs from the
 latest of. . .[t]he date on which the facts supporting the claim or claims could have been discovered through the exercise
 of due diligence.”) The only claim raised in the § 2255 motion is that counsel failed to file an appeal after Petitioner
 instructed him to do so (CV Dkt. 1 at docket page 4). Therefore, the relevant issue with regard to whether the § 2255
 motion is timely under § 2255(f)(4) is when, with the exercise of due diligence, Petitioner could have discovered the
 notice of appeal had not been filed. Despite Petitioner’s apparent assertion to the contrary, the one year limitations
 period did not start to run one year from the date on which he actually discovered that his attorney had died and did not
 file a notice of appeal. In any event, Petitioner fails to even allege the date on which he discovered that information.

                                                             4
Case 8:04-cr-00374-JSM-AEP Document 503 Filed 12/10/12 Page 5 of 5 PageID 1327




        Accordingly, for the foregoing reasons, the Court ORDERS that Petitioner’s “Motion

 to Show by Record Evidence That §2255 Motion is not Time-Barred and to Re-open §2255

 Appeal” (CV Dkt. 6) is DENIED. To the extent that Petitioner seeks a certificate of

 appealability to appeal this ruling, and to proceed on appeal in forma pauperis, that request

 is likewise DENIED.

        DONE and ORDERED in Tampa, Florida on December 10, 2012.




 SA:sfc
 Copy furnished to:
 Pro Se Petitioner
 Counsel of Record




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